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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


   McAFEE ENTERPRISES, INC.,

                     Plaintiff,
             v.
                                                       CASE NO.: 19-cv-5166
   MILLENIAL ESPORTS CORP.,

                     Defendant.                        JURY TRIAL DEMANDED




                                            COMPLAINT

     Plaintiff McAfee Enterprises, Inc. (“McAfee”), by and through its undersigned attorneys,

for its complaint against Millennial Esports Corp., hereby alleges as follows:

                                   NATURE OF THE LAWSUIT

        1.        This is an action for trademark infringement and unfair competition in violation of

Sections 32(1) and 43(a) of the Lanham Act, 15 U.S.C. §§ 1114(1) and 1125(a).

        2.        Plaintiff McAfee owns the registered trademark WORLDS FASTEST

DRUMMER®, Registration Nos. 3,340,556 and 5,539,532, which it has used in commerce in the

United States in connection with video games since at least 2002. Plaintiff McAfee also owns

common law rights in the trademarks WORLD’S FASTEST GAMERTM and WFGTM, which it

has used in commerce in the United States in connection with online video games since at least

2008.

        3.        Defendant Millennial has infringed McAfee’s trademark rights by using the term

WORLD’S FASTEST GAMER in the promotion of its video games and online video

competitions. McAfee has advised Millennial of McAfee’s trademark rights, but Millennial has


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refused to stop using the term WORLD’S FASTEST GAMER for the promotion of video games

and online video competitions. McAfee seeks an injunction to stop Millennial from continuing

to infringe and use McAfee’s trademarks, damages and all other appropriate relief.

                                               PARTIES

         4.    Plaintiff McAfee is a corporation organized under the laws of the state of

Tennessee with a principal place of business located at 205 Mitchell Road, Portland, Tennessee

37148.

         5.     Defendant Millennial is a corporation organized under the laws of the Canadian

province of Ontario with a principal place of business located at 2982 Bloor St. West, 2nd Floor,

Toronto, Ontario, Canada M8X-1B9.

                                 JURISIDICTION AND VENUE

         6.    This Court has subject matter jurisdiction over McAfee’s claims in this action

pursuant to 15 U.S.C. § 1121 which provides United States district courts with original

jurisdiction over cases brought under the Lanham Act without regard to the amount in

controversy or the diversity of the parties.

         7.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(c)(3) because

Millennial is a defendant not resident in the United States, and may be sued in any judicial

district.

                       ALLEGATIONS COMMON TO ALL COUNTS

         8.    Boo McAfee, president of McAfee Enterprises, Inc., pioneered the concept of

high-speed drumming competitions. In 1999, Mr. McAfee filed for a patent on an electric drum

stroke counting machine and was awarded United States Patent No. 6,545,207 on the device,

which became known as the DrumometerTM. In addition to selling the patented DrumometerTM,



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Mr. McAfee began promoting the device for use in live high-speed drumming competitions,

which McAfee called WORLDS FASTEST DRUMMER® competitions. Beginning in 2003,

these high-speed competitions became a featured attraction at biannual National Association of

Music Merchants (“NAMM”) conventions. In addition, McAfee began licensing the

DrumometerTM and WORLDS FASTEST DRUMMER® promotional material for use at school

fundraisers, music expos, business marketing events, festivals and other special events. McAfee

acquired and owns the website domain www.worldsfastestdrummer.com. Today, WORLDS

FASTEST DRUMMER® competitions and live events are regularly held all over the world.

       9.     In addition to live events, McAfee also developed and marketed a video arcade

game under the WORLDS FASTEST DRUMMER® trademark that utilized McAfee’s electronic

drum beat counting technology. The WORLDS FASTEST DRUMMER® video arcade game,

shown below, also counts drum strokes on a drum pad and allows payers to compete to

determine who is a faster drummer.




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       10.    In 2007, McAfee registered the mark WORLDS FASTEST DRUMMER®,

Registration No. 3,340,556, for use in connection with “video and computer games cartridges

and disks” and “providing of computer and video games online.” In 2018, McAfee also

registered WORLD’S FASTEST DRUMMER®, Registration No. 5,539,532, for use in

connection with “video arcade games.”

       11.    In 2008, McAfee developed an online video computer game that simulated live

high-speed drumming, using a player’s keystrokes as a substitute for drum strokes, and showing

a cartoon drummer striking a simulated DrumometerTM. To promote its new game, McAfee

acquired and continues to own the website domain www.worldsfastestgamer.com. McAfee

referred to the video game as the WORLD’S FASTEST GAMERTM video game, or abbreviated

the name as WFGTM.

       12.    McAfee has used the WORLD’S FASTEST GAMERTM and WFGTM trademarks

continuously since 2008 to market, promote and distinguish computer games played online that

are produced by McAfee. McAfee continues to use the WORLD’S FASTEST GAMERTM and

WFGTM trademarks to market and promote online video games and competitions, also known as

esports. Although originally based on only high-speed competitive drumming, McAfee now

plans to move into other competitive online games, including first person shooter games, racing

games and fighting games, among others, using the WORLD’S FASTEST GAMERTM

trademark.

       13.    Since at least 2008, McAfee has invested significant time, money and resources to

develop and foster the reputation, recognition and goodwill associated with the WORLDS

FASTEST DRUMMER®, WORLD’S FASTEST GAMERTM and WFGTM family of trademarks.




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McAfee’s efforts include extensive advertising, a continuous online presence and promotion at

industry trade shows.

       14.     Since at least 2008, McAfee has used the WORLDS FASTEST DRUMMER®,

WORLD’S FASTEST GAMERTM of trademarks to identify itself as a provider of high-speed

gaming competitions and online video games.

       15.     Through long term use and association with McAfee, McAfee has acquired

common law trademark rights in the marks WORLD’S FASTEST GAMERTM and WFGTM.

       16.     The WORLDS FASTEST DRUMMER®, WORLD’S FASTEST GAMERTM and

WFGTM family of trademarks are widely recognized by consumers in the music and gaming

industry, and have acquired substantial goodwill as trademarks identifying McAfee as the

provider of the high-speed gaming competitions and online video games associated with the

trademarks and McAfee.

       17.     On June 4, 2019, McAfee applied to the United States Patent and Trademark

Office to register the WORLD’S FASTEST GAMERTM trademark, Application Serial No.

88,458,084. McAfee’s application is pending.

       18.     On July 11, 2019, McAfee applied to the United States Patent and Trademark

Office to register the WFGTM trademark, Application Serial No. 88,509,496. McAfee’s

application is pending.

       19.     Millennial, through its wholly-owned subsidiary IDEAS+CARS, recently began

advertising and promoting an online video racing game competition called “World’s Fastest

Gamer.” Millennial also often refers to the competition as the “WFG.”

       20.     On May 28, 2019, a representative of Millennial contacted McAfee and inquired

about purchasing McAfee’s rights to the website domain www.worldsfastestgamer.com. On



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June 4, 2019, counsel for McAfee advised a representative of Millennial of McAfee’s prior and

superior trademark rights in the mark WORLD’S FASTEST GAMERTM.

       21.     On June 5, 2019, the day after being advised of McAfee’s prior and superior

rights, Millennial’s wholly-owned subsidiary filed an intent-to-use trademark application to

acquire rights to the mark WORLD’S FASTEST GAMERTM, Application Serial No. 88,460,332,

seeking registration of the mark for use in connection with “game services provided on-line from

a computer network,” clothing, gaming devices, energy drinks, films and TV documentaries,

among other categories.

       22.     McAfee sent additional correspondence to Millennial demanding that it cease and

desist any use of the mark WORLD’S FASTEST GAMERTM in connection with video games,

esports competitions and television programs. Millennial has also established a website at the

domain www.wfgamer.com where it promotes its esports racing competitions under the name

“World’s Fastest Gamer.”

       23.     Millennial has ignored McAfee’s demands and continues to use marks the marks

WORLD’S FASTEST GAMERTM and WFGTM to designate and identify Millennial’s esports

racing competition.

       24.     Millennial’s use of the mark WORLD’S FASTEST GAMERTM infringes

McAfee’s rights in the federally registered WORLDS FASTEST DRUMMER® trademark and

McAfee’s common law rights in the WORLD’S FASTEST GAMERTM trademark.

       25.     Millennial’s use of the mark WFGTM infringes McAfee’s common law rights in

the WFGTM trademark.




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       26.     Millennial’s use of the WORLD’S FASTEST GAMERTM and WFGTM marks has

caused and will continue to cause confusion among consumers and distributors in the online

gaming community.

       27.     Millennial knew or should have known of McAfee’s prior and superior rights at

the time it began use of the WORLD’S FASTEST GAMERTM trademark.

       28.     Millennial’s conduct as set forth herein has been and continues to be willful,

deliberate and in bad faith.

                                            COUNT I

                      REGISTERED TRADEMARK INFRINGEMENT

       29.     McAfee incorporates and realleges the allegations of Paragraphs 1-28.

       30.     Millennial’s use of the WORLD’S FASTEST GAMERTM mark is likely to cause

confusion with McAfee’s registered trademark WORLDS FASTEST DRUMMER® and to

mislead consumers and distributors of online gaming content and competitions as to the source

and sponsorship of the online gaming content and competitions in violation of 15 U.S.C. § 1114.

       31.     Millennial’s use of the WORLD’S FASTEST GAMERTM mark constitutes a false

designation of origin and tends to falsely represent that Millennial’s online gaming competitions

originate from or were sponsored, approved, authorized or affiliated with McAfee in violation of

15 U.S.C. § 1114.

       32.     Millennial’s conduct has caused injury and damages to McAfee and will continue

to cause injury and damages if not enjoined.

                                           COUNT II

  COMMON LAW TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION

       33.     McAfee incorporates and realleges the allegations of Paragraphs 1-28.



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       34.     Through long term use of over ten years, advertising, promotion and recognition

in the industry, as set forth above, the WORLD’S FASTEST GAMERTM and WFGTM

trademarks have come to be associated with McAfee as a designator of services provided by

McAfee, namely, online gaming content and competitions.

       35.     Millennial’s use of the WORLD’S FASTEST GAMERTM mark is likely to cause

confusion with McAfee’s common law trademark WORLDS FASTEST GAMERTM and to

mislead consumers and distributors of online gaming content and competitions as to the source

and sponsorship of the online gaming content and competitions in violation of 15 U.S.C. §

1125(a).

       36.     Millennial’s use of the WFGTM mark is likely to cause confusion with McAfee’s

common law trademark WFGTM and to mislead consumers and distributors of online gaming

content and competitions as to the source and sponsorship of the online gaming content and

competitions in violation of 15 U.S.C. § 1125(a).

       37.     In addition to common law trademark infringement, Millennial’s conduct

constitutes unfair competition in violation of 15 U.S.C. § 1125(a).

       38.     Millennial’s conduct has caused injury and damages to McAfee and will continue

to cause injury and damages if not enjoined.

                                     PRAYER FOR RELIEF

       1.      Enjoin Millennial, its agents, affiliates, subsidiaries, principals and all others in

active concert with them to cease desist from any further use of the WORLD’S FASTEST

GAMERTM and WFGTM marks or any confusingly similar marks;




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       2.        Order Millennial to destroy all literature, advertising content and/or promotional

material bearing the WORLD’S FASTEST GAMERTM and WFGTM marks or any confusingly

similar marks;

       3.        Award to McAfee all profits made by Millennial from the use of the infringing

WORLD’S FASTEST GAMERTM and WFGTM marks pursuant to 15 U.S.C. 1117(a).

       4.        Award to McAfee the damages it has suffered as a result of Millennial’s use of

the infringing WORLD’S FASTEST GAMERTM and WFGTM marks pursuant to 15 U.S.C.

1117(a).

       5.        Find this to be an exceptional case and award to McAfee its reasonable attorney

fees pursuant to 15 U.S.C. § 1117(a).

       6.        Award to McAfee its costs in this action.

       7.        Award such other further relief that the Court deems just and proper.

McAFEE DEMANDS TRIAL BY JURY

Date: July 31, 2019                     Respectfully submitted,

                                        /s/ Anthony E. Dowell
                                        Anthony E. Dowell
                                        aedowell@mccaulleydowell.com
                                        McCAULLEY DOWELL
                                        550 W. Washington Blvd., Suite 201
                                        Chicago, IL 60661
                                        Phone: (773) 687-9886

                                        ATTORNEYS FOR PLAINTIFF
                                        MCAFEE ENTERPRISES, INC.




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